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                     UNITED STATES DISTRICT COURT
                 IN THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 JILL BABCOCK, et al.,                                   Civil Action No. 22-cv-12951
                                                         HON. MARK A.
                                                         GOLDSMITH
                                                         MAG: JONATHAN J.C. GREY
                                Plaintiffs,
vs


STATE OF MICHIGAN,
COUNTY OF WAYNE,
CITY OF DETROIT,
WAYNE COUNTY BUILDING AUTHORITY,
DETROIT BUILDING AUTHORITY,
DETROIT-WAYNE JOINT BUILDING AUTHORITY,
and
HINES, out-of-state corporation authorized to do business in Michigan

                             Defendants.
____________________________________________________________________________/
 Michael W. Bartnik (P32534)                      JAMES HEATH (P65419)
 Law for Baby Boomers, PLLC                       Wayne County Corporation Counsel
 Attorney for Plaintiffs                          JAMES M. JERNIGAN (P57035)
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 Attorneys for Defendant Detroit Building       Building Authority and Hines
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 WAYNE COUNTY DEFENDANTS’ ANSWER TO CLASS ACTION CIVIL
   AND DISABILITY RIGHTS COMPLAINT FOR INJUNCTIVE AND
          OTHER RELIEF and AFFIRMATIVE DEFENSES
       NOW COME the County of Wayne and the Wayne County Building

Authority, collectively referred to as “County Defendants,” by and through their

counsel, James M. Jernigan (P57035), and for their joint answer and affirmative

defenses state as follows:

       1.     County Defendants deny that they have harmed Plaintiffs as such

allegation is untrue.

       2.     County Defendants deny that they have harmed Plaintiffs as such

allegation is untrue.

       3.     County Defendants deny that they have harmed Plaintiffs or engaged

in any flagrant transgressions described by Plaintiffs as such allegation is untrue.

       4.     County Defendants deny that they have violated federal and/or state

laws as such allegation is untrue.


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      5.     County Defendants admit that they are aware of their legal

obligations, but neither admit nor deny the specific allegations related to the

various authorities cited and leave Plaintiffs to their proofs in relation to this

matter.

      6.     County Defendants deny Plaintiffs’ allegations as such allegations is

untrue.

      7.     County Defendants can neither admit nor deny the exact relief sought

by Plaintiffs and leave Plaintiffs to their proofs.

                               FEDERAL JURISDICTION

      8.     County Defendants neither admit nor deny the allegations related to

jurisdiction and leave Plaintiffs to their proofs.

      9.     County Defendants neither admit nor deny the allegations related to

jurisdiction and leave Plaintiffs to their proofs.

      10.    County Defendants neither admit nor deny the legal conclusion

posited by Plaintiffs and and leave Plaintiffs to their proofs, with County

Defendants reserving all possible defenses, including but not limited to

governmental immunity.

                                           VENUE

      11.    County Defendants neither admit nor deny the allegations related to

venue and leave Plaintiffs to their proofs.


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      12.    County Defendants admit that they are located within the Eastern

District of Michigan.

      13.    County Defendants neither admit nor deny the allegations related to

venue and leave Plaintiffs to their proofs.

                                  PARTIES PLAINTIFF

      14.    County Defendants deny that they have injured Plaintiffs as such

allegation is untrue but neither admit nor deny the allegations outlined in Plaintiffs’

paragraph 14 related to standing and leave Plaintiffs to their proofs.

      15.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 15 and leave Plaintiffs to their proofs.

      16.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 16 and leave Plaintiffs to their proofs.

      17.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 17 and leave Plaintiffs to their proofs.

      18.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 18 and leave Plaintiffs to their proofs.

      19.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 19 and leave Plaintiffs to their proofs.

      20.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 20 and leave Plaintiffs to their proofs.


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      21.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 21 and leave Plaintiffs to their proofs.

      22.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 22 and leave Plaintiffs to their proofs.

      23.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 23 and leave Plaintiffs to their proofs.

      24.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 24 and leave Plaintiffs to their proofs.

      25.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 25 and leave Plaintiffs to their proofs.

      26.    County Defendants admit that Plaintiffs are entitled to equal access to

government buildings, services, programs and activities as any other citizen has.

      27.    County Defendants deny that they have violated federal or state law or

injured Plaintiffs as outlined in Plaintiffs’ paragraph 27.

      28.    County Defendants deny that they have violated federal or state law or

injured Plaintiffs as alleged in Plaintiffs’ paragraph 28.

      29.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 29 as to what Plaintiff Junior is required to engage and leave

Plaintiffs to their proofs, but deny that they have impeded her access to any of the

County buildings outlined in Plaintiffs’ complaint.


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      30.    County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 30 as to how Plaintiff Jacobson makes her living and leave

Plaintiffs to their proofs, but deny that they have impeded her access to any of the

County buildings outlined in Plaintiffs’ complaint and also deny that any lost work

or other business opportunities are a result of any action or inaction of Defendants

as it relates to access to the various County buildings outlined in Plaintiffs’

complaint.

      31.    While County Defendants admit that Plaintiffs are generally equally

entitled to services accessible to others, County Defendants deny the balance of

Plaintiffs’ allegations that they have violated federal or state laws because such

allegation is untrue.

      32.    County Defendants deny Plaintiffs’ allegations that they have violated

federal or state laws or that Plaintiffs have been denied rights, services or

accommodations because such allegation is untrue.

      33.    County Defendants deny Plaintiffs’ allegations because such

allegation is untrue.

      34.    County Defendants deny Plaintiffs’ allegation that joinder of all the

named defendants is appropriate because there is no commonality of facts, nor is

judicial economy served by having the various defendants joined in the same case.




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      35.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 35 as to each plaintiff’s status as a “qualified individual with

a disability” and leave Plaintiffs to their proofs, but deny that they have denied

access to any of the County buildings outlined in Plaintiffs’ complaint and deny

that they have denied any of the plaintiffs access to services, programs or activities

because such allegation is untrue.

      36.       County Defendants deny Plaintiffs’ allegations because such

allegation is untrue.

      37.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 37 as to each plaintiff’s status as a “person with a disability”

and leave Plaintiffs to their proofs.

      38.       County Defendants deny Plaintiffs’ allegations because such

allegation is untrue.

      39.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 39 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.

                                  PARTIES DEFENDANT

      40.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 40 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.


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      41.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 41 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.

      42.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 42 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.

      43.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 43 as it relates to a different defendant and leave Plaintiffs to

their proofs.

      44.       County Defendants admit.

      45.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 45 as it relates to a different defendant and leave Plaintiffs to

their proofs.

      46.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 46 as it relates to a different defendant and leave Plaintiffs to

their proofs.

      47.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 47 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.




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      48.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 48 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.

      49.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 49 as it calls for a legal conclusion and leave Plaintiffs to

their proofs.

      50.       County Defendants admit that the Wayne County Building Authority

is a public body corporate, but denies that it is granted any unique powers pursuant

to the “Construction Act and Building Codes” as such allegation is untrue. County

Defendants further deny the allegations related to the Coleman A. Young

Municipal Center (“CAYMC”) because the Wayne County Building Authority

have any ownership interest in that building, nor does the Wayne County Building

Authority have any authority to provide any type of sanctions as such allegation is

inaccurate.

      51.       County Defendants neither admit nor deny the allegations outlined in

Plaintiffs’ paragraph 51 as it relates to a different defendant and leave Plaintiffs to

their proofs.

      52.       County Defendants admit.




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       53.       County Defendants admit that Hines manages CAYMC, but neither

 admit nor deny Hines’ involvement with any other facility and leave Plaintiffs to

 their proofs.

       54.       County Defendants admit that the Detroit-Wayne County Joint

 Building Authority (“JBA”) hired Hines to manage CAYMC, but can neither admit

 nor deny what Hines has on its website and leave Plaintiffs to their proofs.

       55.       County Defendants admit that Wayne County hired Hines to manage

 the renovations to the Guardian Building in 2008. County Defendants also admit

 that there are numerous County and County-related entities that occupy space at

 the Guardian Building.

             DEFENDANTS HAVE INJURED EACH OF THE PLAINTIFFS

       56.       County Defendants neither admit nor deny the allegations as to

 Plaintiffs’ status or need for services and leave Plaintiffs to their proofs, but deny

 that Plaintiffs have been denied access to any of the buildings outlined in

 Plaintiffs’ complaint because such allegation is untrue and further deny that

 Plaintiffs have been denied the rights outlined in subparagraphs a – q because such

 allegations are also untrue.

       57.       County Defendants can neither admit nor deny the allegations in

 Plaintiffs’ paragraph 57 and leave Plaintiffs to their proofs.




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       58.    County Defendants can neither admit nor deny the allegations in

 Plaintiffs’ paragraph 58 and leave Plaintiffs to their proofs.

       59.    County Defendants can neither admit nor deny the allegations in

 Plaintiffs’ paragraph 59 as to Plaintiffs’ physical needs and leave Plaintiffs to their

 proofs. County Defendants can neither admit nor deny the specific allegations

 related to the physical state of CAYMC as outlined in subparagraphs a – e and

 leave Plaintiffs to their proofs.

       60.    County Defendants can neither admit nor deny the allegations in

 Plaintiffs’ paragraph 60 and leave Plaintiffs to their proofs.

       61.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue. County

 Defendants can neither admit nor deny the specific allegations as to Plaintiff

 Jacobson’s actions and leave Plaintiffs to their proofs.

       62.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue. County

 Defendants can neither admit nor deny the remaining allegations outlined in

 paragraph 62 and leave Plaintiffs to their proofs.

       63.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue. County




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 Defendants can neither admit nor deny the remaining allegations outlined in

 paragraph 63 and leave Plaintiffs to their proofs.

       64.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue.

       65.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue. County

 Defendants can neither admit nor deny the remaining allegations outlined in

 paragraph 65 and leave Plaintiffs to their proofs.

       66.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue and further

 deny that they are liable for any of the damages outlined by Plaintiffs in paragraph

 66.

       67.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue and further

 deny that they are liable for punitive damages outlined by Plaintiffs in paragraph

 67.

       68.    County Defendants deny the allegation that they have refused to

 comply with federal and state laws because such allegation is untrue and further

 deny that they have prevented or prohibited any of the activities outlined by

 Plaintiffs in paragraph 68 because such allegation is untrue.


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       69.    County Defendants admit that they provide programming to the public

 but deny that they have refused to comply with federal and state laws because such

 allegation is untrue.

       70.    County Defendants neither admit nor deny and leave Plaintiffs to their

 proofs.

       71.    County Defendants deny that they have relationships with all other

 defendants as alleged by Plaintiffs because such allegation is untrue. County

 Defendants admit that Wayne County is the owner of the Guardian Building and

 that Wayne County is obligated to follow state and federal law, but deny that they

 own or operate CAYMC because such allegation is untrue.

       72.     County Defendants deny the allegation that they own, lease, operate

 or have “joint control with the other Defendants” of properties because such

 allegation is untrue. County Defendants further deny that they have any ownership

 interest in Frank Murphy Hall of Justice or the 36th District Court as such

 allegation is untrue. County Defendants admit that Wayne County is a lessee at the

 Penobscot Building and 400 Monroe. County Defendants admit that Wayne

 County Building Authority owns the Lincoln Hall of Justice and that Wayne

 County owns the new Criminal Justice Center that is under construction on East

 Warren Avenue.




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       73.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 73 and leave Plaintiffs to their proofs.

       74.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 74 and leave Plaintiffs to their proofs.

       75.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 75 and leave Plaintiffs to their proofs.

       76.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 76 and leave Plaintiffs to their proofs.

       77.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 77 as to the characterization of the structure and the daily and

 annual visitors and leave Plaintiffs to their proofs. County Defendants admit there

 are two towers and certain common areas.

       78.    County Defendants admit that CAYMC is a building that is open to

 the public, but neither admit nor deny the specific legal conclusion outlined by

 Plaintiffs and leave Plaintiffs to their proofs.

       79.    County Defendants admit that CAYMC has served multiple

 governmental functions, including those outlined by Plaintiffs.

       80.    County Defendants neither admit nor deny the allegations in

 Plaintiffs’ paragraph 80 as they call for legal conclusions and leave Plaintiffs to

 their proofs. Further, County Defendants can neither admit nor deny the


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 allegations relating to specific areas or physical characteristics of the building and

 leave Plaintiffs to their proofs.

       81.       County Defendants admit that the County entered into a contract of

 lease on or about November 6, 1952.

       82.       County Defendants admit that the County entered into an amendment

 of lease contract on or about March 1, 1988.

       83.       County Defendants neither admit nor deny the allegations contained

 in this paragraph as they require a legal conclusion, and further leave Plaintiffs to

 their proofs.

       84.       County Defendants can neither admit nor deny the allegations that

 speak to specific improvements made to CAYMC and leave Plaintiffs to their

 proofs.

       85.       County Defendants can neither admit nor deny the allegations that

 speak to specific improvements made to CAYMC as they call for a legal

 conclusion and leave Plaintiffs to their proofs.

       86.       County Defendants can neither admit nor deny the allegations that

 speak to specific improvements made to CAYMC as they call for a legal

 conclusion and leave Plaintiffs to their proofs.

       87.       County Defendants can neither admit nor deny the allegations that

 speak to specific improvements made or alterations made to the streets, sidewalks


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 and areas adjacent to CAYMC as they call for a legal conclusion and leave

 Plaintiffs to their proofs.

        88.      County Defendants neither admit nor deny the allegations that speak

 to specific improvements made to CAYMC as they call for a legal conclusion and

 leave Plaintiffs to their proofs.

        89.      County Defendants deny that they have violated state or federal law as

 such allegation is untrue.

        90.      County Defendants neither admit nor deny the allegations that speak

 to specific configuration or improvements made to CAYMC as they call for a legal

 conclusion and leave Plaintiffs to their proofs.

        91.      County Defendants deny that they have deprived Plaintiffs of their

 rights or injured them in any way because such allegation is untrue.

        92.      County Defendants neither admit nor deny the allegations that speak

 to specific configuration at the Frank Murphy Hall of Justice and leave Plaintiffs to

 their proofs.

        93.      County Defendants neither admit nor deny the allegations that speak

 to 36th District Court and leave Plaintiffs to their proofs.

        94.      County Defendants neither admit nor deny the allegations that speak

 to the adequacy of the specific configuration at the Lincoln Hall as they call for a

 legal conclusion and leave Plaintiffs to their proofs.


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       95.    County Defendants neither admit nor deny the allegations that speak

 to the adequacy of the specific design or configuration at the yet to be opened

 Criminal Justice Complex as they call for speculation on a building that is not even

 constructed and a legal conclusion and leave Plaintiffs to their proofs.

       96.    County Defendants admit that Wayne County has offices throughout

 the Guardian Building, but deny that they have violated state or federal law

 because such allegation is untrue.

       97.    County Defendants admit that the County has offices at 400 Monroe,

 including the Register of Deeds and the Wayne County Treasurer, but deny that

 they have violated state or federal law because such allegation is untrue.

       98.    County Defendants admit that the Friend of the Court is located in the

 Penobscot Building, but deny that they have violated state or federal law because

 such allegation is untrue and further deny that the County Defendants would be

 responsible for any structural issues associated with that structure.

       99.    County Defendants neither admit nor deny.

       100. County Defendants neither admit nor deny.

       101. County Defendants neither admit nor deny.

       102. County Defendants neither admit nor deny.

       103. County Defendants neither admit nor deny.

       104. County Defendants neither admit nor deny.


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       105. County Defendants neither admit nor deny.

       106. County Defendants neither admit nor deny.

       107. County Defendants admit that Wayne County has received federal

 funds through the American Rescue Plan Act (ARPA), but cannot speak to other

 defendants’ receipt of any such funds.

       108. County Defendants neither admit nor deny and leave Plaintiffs to their

 proofs.

       109. County Defendants neither admit nor deny and leave Plaintiffs to their

 proofs.

       110.      County Defendants neither admit nor deny and leave Plaintiffs to

 their proofs.

       111. County Defendants neither admit nor deny and leave Plaintiffs to their

 proofs.

       112. County Defendants neither admit nor deny the allegations related to

 repeated complaints and leave Plaintiffs to their proofs, but affirmatively state that

 they believe to be compliant with state and federal law in facilities over which they

 have management or control.

       113. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

                        COUNT I – FEDERAL LAW VIOLATIONS


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        114. County Defendants incorporate all prior paragraphs and responses as

 if fully set forth herein.

        115. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

                         COUNT II – STATE LAW VIOLATIONS

        116. County Defendants incorporate all prior paragraphs and responses as

 if fully set forth herein.

        117. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

                                COUNT III – DAMAGES

        118. County Defendants incorporate all prior paragraphs and responses as

 if fully set forth herein.

        119. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

        120. County Defendants deny that they have harmed Plaintiffs in any way

 and further deny that they have violated state or federal law as such allegations are

 untrue.

                              COUNT IV – PUNITIVE DAMAGES

        121. County Defendants incorporate all prior paragraphs and responses as

 if fully set forth herein.


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       122. County Defendants admit that they are aware of their obligations.

       123. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

       124. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

       125. County Defendants deny the allegation that they have violated state or

 federal law as such allegation is untrue.

       126. County Defendants deny that they have harmed Plaintiffs in any way

 and further deny that they have violated state or federal law as such allegations are

 untrue.

       127. County Defendants deny that they have harmed Plaintiffs in any way

 and further deny that they have violated state or federal law as such allegations are

 untrue and further deny that they are liable for any damages.

                                  JURY DEMAND

       128. County Defendants neither admit nor deny.




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            COUNTY DEFENDANTS’ AFFIRMATIVE DEFENSES

       1.     Some or all of the Counts of the Complaint fail to state a claim upon

 which relief can be granted.

       2.     Counts III and IV allege Plaintiffs’ alleged right to recover damages

 and punitive damages, respectively, and are not valid counts.

       3.     Joinder of parties and claims is inappropriate in this case.

       4.     Plaintiffs’ claims may be barred in whole or in part for the reason that

 the relief requested would constitute an undue hardship and administrative burden

 upon the County Defendants to bring its subject properties into compliance with the

 required scope of the acts pursuant to which the action is brought.

       5.     Plaintiffs’ demands as they relate to the County Defendants’ properties

 are not readily achievable nor are they financially reasonable or achievable.

       6.     County Defendants and the properties subject to this action are entitled

 to a safe harbor based on prior compliance.

       7.     Allegations as to the County’s Criminal Justice Complex are not ripe,

 as the building is not complete.

       8.     It is structurally impossible to meet all of the requirements Plaintiffs

 claim are necessary at the Guardian and Penobscot buildings.

       9.     Plaintiffs’ claims may be barred in whole or in part for Plaintiffs’ failing

 to mitigate damages, failing to provide adequate notice of claimed issues or


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 problems, and failing to give sufficient opportunity to remedy those problems,

 before going to the unnecessary and undue expense of an unneeded litigation, when

 any barriers could have easier been remedied without such an extreme remedy.

       10.    Plaintiffs’ claims may be barred in whole or in part for the reason that

 one or more of Plaintiffs lacks standing, as having suffered no real harm, or to the

 extent one or more Plaintiffs never intended to seek any services at the County

 buildings and/or does not intend to return to any of the County buildings.

       11.    Plaintiffs’ claims may be barred in whole or in part for the reason that

 Plaintiffs have suffered no real harm as a result of any of the claimed violations set

 forth in the Complaint.

       12.    Plaintiffs’ claims may be barred in whole or in part for the reason that

 the there is a business necessity to the nature in which the County buildings are

 configured and/or managed.

       13.    Plaintiffs’ allegations are inapplicable in this matter because the County

 buildings at issue in this case existed before January 26, 1992.

       14.    Plaintiffs’ claims against the County Defendants may be barred in

 whole or in part by application of the applicable statute of limitations and/or doctrine

 of laches.

       15.    Plaintiffs’ claims may be barred in whole or in part because the alleged

 violations do not prevent Plaintiffs from using and/or enjoying all of the goods,


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 services, and facilities available to the public at the County buildings outlined in

 Plaintiffs’ complaint, or equivalent to the goods, services, or facilities available to

 members of the public.

        16.    Plaintiffs’ claims may be barred in whole or in part for failure to exhaust

 administrative remedies, or non-compliance with other conditions precedent.

        17.    The alleged deprivation of civil rights did not result from a breach of

 any duty the County Defendants owed to Plaintiffs, nor were the alleged actions or

 omissions the cause in fact or proximate cause of harm Plaintiffs allege they have

 suffered.

        18.    If Plaintiffs’ allegations of facts, as set forth in Plaintiffs’ Complaint

 are proven to be true, all of which are expressly and repeatedly denied as to the

 County Defendants, then the County Defendants acted unintentionally and with

 insufficient culpability to establish a cause of action under any federal civil rights

 statute or other statute.

        19.    At all times relevant hereto, the County Defendants acted without

 malicious intent and acted in good faith and with a reasonable justification or belief

 in the legality and lawfulness of its actions, and its actions were reasonable

 considering all of the circumstances.

        20.    Plaintiffs’ injuries and damages, if any, are unrelated to any actions or

 omissions on the part of County Defendants.


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       21.    Plaintiffs were not deprived of any rights secured by the United States

 Constitution or any federal or state statute.

       22.    Plaintiffs’ claims are barred or limited based upon Plaintiffs’ own

 actions.

       23.    The Complaint (including each purported count in it) does not state

 facts sufficient to certify a class for purposes of a class action. Therefore, this action

 is not properly brought as a class action under Rule 23 of the Federal Rules of Civil

 Procedure.

       WHEREFORE, County Defendants request that this Court deny the relief

 requested by Plaintiffs and dismiss the complaint in its entirety as being without

 merit and grant any other relief that this Court deems just and equitable.




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                                     Respectfully submitted,

                                     JAMES HEATH
                                     Wayne County Corporation Counsel
  Date: March 10, 2023
                                      BY: /s/ James M. Jernigan
                                      JAMES M. JERNIGAN (P57035)
                                      Assistant Corporation Counsel
                                      Attorney for Defendants Wayne County and Wayne
                                      County Building Authority
                                      400 Monroe, Suite 290
                                      Detroit, MI 48226
                                      (313) 202-7188

                           CERTIFICATE OF SERVICE


 The undersigned, being first and duly sworn deposes and states that on March 10,
 2023, she electronically filed an Appearance of Counsel and Notice of
 Appearance with the Clerk of the Court using the ECF system which will send
 notification of such filing to all parties registered on this case.




        /s/S. Washington
 Sanonya Washington




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